

Matter of Wisnicki (2022 NY Slip Op 06813)





Matter of Wisnicki


2022 NY Slip Op 06813


Decided on November 30, 2022


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 30, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
MARK C. DILLON
COLLEEN D. DUFFY
BETSY BARROS
ANGELA G. IANNACCI, JJ.


2022-03644

[*1]In the Matter of Robert Wisnicki, an attorney and counselor at law. (Attorney Registration No. 4254447)



APPLICATION pursuant to 22 NYCRR 1240.10 by Robert Wisnicki, who was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the Second Judicial Department on October 27, 2004, to resign as an attorney and counselor-at-law.



Diana Maxfield Kearse, Brooklyn, NY, for Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts.
Michael S. Ross, New York, NY, for respondent.



PER CURIAM.


OPINION &amp; ORDER
The respondent, Robert Wisnicki, has submitted an affidavit sworn to on May 16, 2022, in support of his application to resign as an attorney and counselor-at-law (see  22 NYCRR 1240.10). The respondent acknowledges in his affidavit that he is currently the subject of two investigations by the Grievance Committee for Second, Eleventh, and Thirteenth Judicial Districts, involving the improper use, operation, and maintenance of his IOLA accounts. The respondent avers that he cannot successfully defend himself against the allegations based upon the facts and circumstances of his professional misconduct.
The respondent acknowledges that his resignation is freely and voluntarily tendered, without coercion or duress by anyone, with full awareness of the consequences, including that the Court's acceptance and approval shall result in the entry of an order of disbarment striking his name from the roll of attorneys and counselors-at-law.
The respondent acknowledges that his resignation is submitted subject to any future application that may be made by the Grievance Committee for an order, pursuant to Judiciary Law § 90(6-a), directing that he make restitution or reimburse the Lawyers' Fund for Client Protection, and that he consents to the Court's continuing jurisdiction to make such an order.
The respondent also acknowledges and agrees that pending the issuance of this order accepting his resignation, he will not undertake to represent any new clients or accept any retainers for future legal services to be rendered, and that there will be no transactional activity in any fiduciary account to which he has access, other than for payment of funds held therein on behalf of clients or others entitled to receive them.
Lastly, the respondent acknowledges that in the event the Court accepts his resignation, the order resulting therefrom and the records and documents filed in relation to the aforementioned allegations, including his affidavit, shall be deemed public records pursuant to Judiciary Law § 90(10).
The Grievance Committee recommends that the Court grant the respondent's [*2]application to resign.
Inasmuch as the respondent's application to resign substantially complies with the requirements of 22 NYCRR 1240.10, the application is granted and, effective immediately, the respondent is disbarred and his name is stricken from the roll of attorneys and counselors-at-law.
LASALLE, P.J., DILLON, DUFFY, BARROS and IANNACCI, JJ., concur.
ORDERED that the application of the respondent, Robert Wisnicki, to resign as an attorney and counselor-at-law is granted; and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Robert Wisnicki, is disbarred and his name is stricken from the roll of attorneys and counselors-at-law; and it is further,
ORDERED that the respondent, Robert Wisnicki, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see  22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Robert Wisnicki, shall desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Robert Wisnicki, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency and the respondent shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Maria T. Fasulo
Clerk of the Court








